
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-03-243-CV



MY-LINH NGUYEN HA							 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPELLANT



V.



TED LOC TRAN	APPELLEE



----------

FROM THE 360
TH
 
DISTRICT 
COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On January 7, 2004, we notified appellants that the trial court clerk responsible for preparing the record in this appeal informed the court that payment arrangements had not been made to pay for the clerk’s record as required by T
EX.
 R. A
PP.
 P. 35.3(a)(2). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellants, within fifteen days, made arrangements to pay for the clerk’s record and provided this court with proof of payment. &nbsp;

Because appellants have not made payment arrangements for the clerk’s record, it is the opinion of the court that the appeal should be dismissed for want of prosecution. 
 &nbsp;Accordingly, we dismiss the appeal. &nbsp;
See T
EX
. R. A
PP
. P. 37.3(b), 42.3(b).

Appellants shall pay all costs of the 
appeal, for which let execution issue.



PER CURIAM 		



PANEL D:	HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: March 4, 2004





FOOTNOTES
1:See 
Tex. R. App. P. 47.4
.




